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                                       Nos. 24-1218, 24-1270
                                    _________________________

                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT
                                 _________________________

                                     STATE OF MARYLAND,
                                                    Plaintiff-Appellee,
                                              v.

                                          3M COMPANY,
                                                      Defendant-Appellant.
                               _______________________________

                          IN RE: AQUEOUS FILM-FORMING FOAMS
                             PRODUCTS LIABILITY LITIGATION
                                 _________________________

                                 STATE OF SOUTH CAROLINA,
                           ex rel. Alan M. Wilson, in his official capacity
                         as Attorney General of the State of South Carolina,
                                                             Plaintiff-Appellee,
                                                 v.

                                          3M COMPANY,
                                                        Defendant-Appellant.
                                    _________________________

                         On Appeal from the United States District Court
                      for the District of Maryland, No. 1:23-cv-01836, and
                the United States District Court for the District of South Carolina,
                             Nos. 2:18-mn-2873 and 2:23-cv-05979
                                 _________________________

                                OPENING BRIEF FOR
                         DEFENDANT-APPELLANT 3M COMPANY
                              _________________________
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                                     DISCLOSURE STATEMENT

              In accordance with Federal Rule of Appellate Procedure 26.1 and Local Rule

        26.1, Defendant-Appellant 3M Company states that it is a publicly traded

        corporation that does not have any parent corporation. No publicly held corporation

        owns 10% or more of 3M Company’s stock. 3M Company is not a trade association,

        and no other publicly held corporation or publicly held entity has a direct financial

        interest in the outcome of this litigation.




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                                         INTRODUCTION

              This appeal arises from attempts by the State of Maryland and the State of

        South Carolina to evade federal jurisdiction by bringing two cases—one in federal

        court, and one in state court—to recover for a single, indivisible injury. In parallel

        cases consolidated in this Court, the States seek to hold 3M Company (“3M”) liable

        for manufacturing and selling per- and polyfluoroalkyl substances (“PFAS”), a

        family of chemical compounds that have allegedly contaminated some of the States’

        natural resources. The States allege that much of that contamination resulted from

        3M’s production of aqueous film-forming foam (“AFFF”), a product 3M supplied

        to the U.S. military pursuant to rigorous military specifications (“MilSpec”). All

        parties agree that the States’ claims arising from MilSpec AFFF contamination

        should be litigated in federal court under the federal-officer removal statute.

              But in order to pursue part of their claims in their preferred state-court forum,

        each State split its claim for PFAS contamination into two cases: one seeking

        recovery for harm from AFFF sources, the other for harm from non-AFFF sources.

        The purported “non-AFFF” cases expressly disclaimed the States’ intent to seek

        relief for PFAS contamination caused by AFFF. 3M removed both the “AFFF” and

        “non-AFFF” cases to federal court under 28 U.S.C. § 1442(a)(1), which provides

        jurisdiction over any lawsuit that has a connection to or association with a




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        defendant’s actions as a federal contractor and that implicates a colorable

        government-contractor defense.

              The States’ disclaimers rest on a fiction. 3M plausibly alleged in its notices

        of removal that there is no way to tell whether particular compounds in the

        environment stemmed from AFFF or non-AFFF sources, because both AFFF and

        non-AFFF sources of PFAS release some of the same compounds (such as PFOS or

        PFOA). A PFAS compound from AFFF sources is chemically indistinguishable

        from the same PFAS compound from non-AFFF sources, and the two commingle in

        the environment over time through multiple potential pathways in ground and

        surface water, air, and soil. And the complaints themselves allege that the States are

        seeking damages and injunctive relief with respect to numerous sites where PFAS

        from AFFF and non-AFFF sources combined to cause a single injury. 3M’s

        government-contractor defense is available as to all such sites.

              The district courts in both the Maryland and South Carolina cases nevertheless

        concluded that the States’ disclaimers of AFFF liability precluded 3M from asserting

        its federal government-contractor defense in the so-called non-AFFF cases. These

        rulings were error: The courts simply ignored the well-pleaded facts in 3M’s notice

        of removal. Indeed, the District of Maryland expressly stated that it was viewing

        the facts “in the light most favorable to Plaintiff,” JA222; that error alone requires

        reversal. And the States’ disclaimers—to which the courts below gave dispositive



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        weight—rest on the false premise that a factfinder can separate contamination

        originating from AFFF and non-AFFF sources of PFAS. Because contamination

        from AFFF and non-AFFF sources of PFAS cannot be separated, the juries in these

        “non-AFFF” cases will necessarily be asked to impose liability on 3M for alleged

        contamination attributable to MilSpec AFFF—despite the States’ ineffectual

        disclaimers to the contrary.

              Congress provided for federal-officer removal jurisdiction precisely so that

        federal courts can resolve merits questions—such as the accuracy of a model for

        supposedly distinguishing between AFFF and non-AFFF sources of PFAS and

        whether the absence of such a model triggers the federal government-contractor

        defense—that drive the availability of defenses for actions taken under federal

        authority. Willingham v. Morgan, 395 U.S. 402, 407 (1969). The district courts

        erred in remanding these cases that implicate 3M’s federal government-contractor

        defense.

              This Court should reverse.

                               STATEMENT OF JURISDICTION

              This appeal arises from 3M’s removal of cases from state court to federal

        court. In each case, the district court had federal-officer jurisdiction under 28 U.S.C.

        § 1442(a)(1). This Court has jurisdiction under 28 U.S.C. § 1447(d), which provides

        that “an order remanding a case to the State court from which it was removed”



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        pursuant to § 1442(a)(1) “shall be reviewable by appeal.” In the Maryland case, the

        district court’s order was entered on February 12, 2024, and 3M timely noticed its

        appeal on March 12, 2024. JA221; JA230. In the South Carolina case, the district

        court’s order was entered on February 29, 2024, and 3M timely noticed its appeal

        on March 28, 2024. JA372; JA379.

                                  STATEMENT OF THE ISSUE

              Whether each district court erred in holding that federal jurisdiction is lacking

        under the federal-officer removal statute, 28 U.S.C. § 1442(a)(1), when the States’

        claims alleging PFAS contamination of their natural resources are plausibly related

        to MilSpec AFFF sources of PFAS and thus necessarily implicate 3M’s federal

        government-contractor defense.

                                    STATEMENT OF THE CASE

              A.     PFAS and MilSpec AFFF

              PFAS are man-made organic chemicals used in a broad variety of products,

        including consumer goods, food packaging, cookware, and upholstery. JA222–223.

        PFAS are also key ingredients in AFFF, a firefighting foam widely used by the U.S.

        military on bases, airfields, and ships to extinguish life-threatening, fuel-based fires.

        JA221; JA16. In settings where fuel fires are both “inevitable and potentially

        devastating,” AFFF saves lives and protects property. JA16.




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              Although the U.S. Naval Research Laboratory developed AFFF, the

        government required the assistance of chemical manufacturers to maintain a

        sufficient supply. JA16. The Department of Defense thus developed detailed

        specifications (MilSpec) for use by private manufacturers. JA9–10. AFFF suppliers

        must use rigorous inspection and testing procedures to “assure supplies . . . conform

        to [the] prescribed requirements.”       U.S. Navy, Military Specification: Fire

        Extinguishing Agent, Aqueous Film-Forming Foam (AFFF) Liquid Concentrate, Six

        Percent, for Fresh and Sea Water 3 (Nov. 21, 1969). The Navy carefully tests AFFF

        products for compliance with the MilSpec, after which it adds approved products to

        the “Qualified Products List.” Id. at 2; see also 48 C.F.R. § 9.203(a).

              Until recently, the specifications mandated that any AFFF produced for the

        U.S. military contain “fluorocarbon surfactants”—a class of PFAS chemicals. JA17.

        While the MilSpec no longer identifies PFAS by name, it still effectively requires

        the presence of these chemicals.        JA17.        As the Department of Defense

        acknowledges in the most recent MilSpec, it is not currently possible for

        manufacturers to eliminate PFAS entirely “while still meeting all other military

        specification requirements.” JA17 (quoting MIL-PRF-24385F(4) § 6.6 (2020),

        https://tinyurl.com/yxwotjpg).

              3M manufactured and sold MilSpec AFFF to the federal government for over

        three decades. JA17–18; JA246–247. The U.S. military has used 3M’s MilSpec



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        AFFF at military facilities across the country, including at numerous sites in

        Maryland and South Carolina. JA18–19; JA247–248, JA251–252; see also JA142;

        JA328. In Maryland, those sites include, among many others, the Naval Research

        Lab, Chesapeake Bay Detachment; Joint Base Andrews; Fort Meade; the former Fort

        Meade Tipton Airfield; and Webster Field Annex of Naval Air Station Patuxent

        River. JA18–19 (citing JA163–164). In South Carolina, the military sites include,

        among many others, the Marine Corps Recruit Depot Parris Island; Marine Corps

        Air Station Beaufort; Charleston Naval Complex; Joint Base Charleston Air; and

        Myrtle Beach Air Force Base. JA247–248 (citing JA349).

              B.     The AFFF Multidistrict Litigation

              Over the past several years, States, public water providers, and private

        plaintiffs have brought products-liability suits against manufacturers of AFFF,

        alleging that “AFFF products used at airports, military bases, or certain industrial

        locations caused the release of PFOA or PFOS”—two particular PFAS

        compounds—“into local groundwater and contaminated drinking water supplies.”

        In re Aqueous Film-Forming Foams Prods. Liab. Litig., 357 F. Supp. 3d 1391, 1394

        (J.P.M.L. 2018). The Judicial Panel on Multidistrict Litigation centralized these

        actions into a single proceeding—the AFFF multidistrict litigation (“MDL”)—in the

        District of South Carolina. Id. at 1396.




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              The Judicial Panel on Multidistrict Litigation concluded that consolidation

        would “promote the just and efficient conduct of this litigation.” 357 F. Supp. 3d at

        1394. The Panel drew that conclusion in part because “the AFFF manufacturers

        likely will assert identical government contractor defenses in many of the actions.”

        Id. The federal government-contractor defense immunizes government contractors

        from state tort liability when they produce equipment for the U.S. military pursuant

        to “reasonably precise specifications” issued by the government. Sawyer v. Foster

        Wheeler LLC, 860 F.3d 249, 255–56 (4th Cir. 2017) (quoting Boyle v. United Techs.

        Corp., 487 U.S. 500, 512 (1988)). In the MDL, the manufacturers are asserting the

        government-contractor defense based on their production of MilSpec AFFF for the

        Department of Defense.

              C.     Maryland’s Two Suits

              On May 30, 2023, the State of Maryland filed two separate actions against 3M

        and other defendants. See JA40, JA126. Maryland framed the complaints as seeking

        recovery for separate sources of PFAS contamination. One complaint targets PFAS

        stemming from AFFF, while the other targets PFAS from “non-AFFF” sources.

        Each complaint contains a disclaimer that purports to limit Maryland’s damages to

        the specific source of PFAS at issue in that case. Thus, the first case seeks recovery

        for “harms done . . . from Defendants’ AFFF Products,” while supposedly excluding

        “any contamination from PFAS that is not related to the manufacture and use of



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        AFFF.” JA133. The second case seeks the inverse, praying for damages from and

        injunctive relief for “any PFAS contamination” except for “contamination caused

        by AFFF or fluorosurfactants when used as ingredients of AFFF.” JA46.

              The allegations in the two suits otherwise substantially overlap.         Both

        complaints assert that 3M manufactured, marketed, and sold PFAS products in

        Maryland. JA42, JA47–48; JA130–131, JA135. Both complaints allege that those

        products have contaminated the same natural resources: the groundwater, surface

        water, coastal resources, estuaries, sediments, soils, submerged lands, and animal

        and plant species in that State. JA67–70; JA158–163. Both complaints assert that

        PFAS have reached the Chesapeake Bay and harmed the exact same species of

        wildlife. See, e.g., JA65, JA69 (“striped bass, blue crabs, and oysters”); JA156,

        JA160 (“striped bass, blue crabs, and oysters”). And both actions assert the same

        causes of action against 3M: defective design and failure to warn, public nuisance,

        trespass, negligence, and violations of certain Maryland environmental statutes.

        JA95–109; JA187–202.

              3M removed both cases to the U.S. District Court for the District of Maryland,

        asserting federal jurisdiction under the federal-officer removal statute. See JA9–11

        (citing 28 U.S.C. § 1442(a)(1)). The State did not object to 3M’s removal of the

        “AFFF” suit, and the Judicial Panel on Multidistrict Litigation transferred that case

        to the MDL. See JA221–222.



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              Maryland did, however, object to removal of the so-called “non-AFFF” case,

        and moved to remand that case to state court. Mem. in Supp. of Mot. for Recons.

        and Remand at 3, Maryland v. 3M Co., No. 1:23-cv-01836 (D. Md. Aug. 9, 2023),

        ECF 17-1. 3M’s opposition brief explained that its notice of removal contained 13

        paragraphs of detailed factual allegations explaining that, notwithstanding

        Maryland’s disclaimer, the “non-AFFF” case is inextricably intertwined with 3M’s

        production of MilSpec AFFF. See Opp. to Mot. for Reconsideration and Remand at

        5, Maryland v. 3M Co., No. 1:23-cv-01836 (D. Md. Aug. 23, 2023), ECF 27 (citing

        JA18–25). As alleged in the notice, PFAS from all sources became “commingled”

        in natural resources at numerous sites “across the State.” JA24. The commingled

        PFAS allegedly caused a single, indivisible harm—contamination from PFOS and

        PFOA—to many of the same natural resources. JA18–19, JA22–26. Because PFAS

        from different sources (including MilSpec AFFF) had allegedly contaminated the

        same locations, 3M explained, it intended to invoke the federal government-

        contractor defense in the “non-AFFF” case as well.               JA9–10, JA28–33.

        Accordingly, the case fell within the federal-officer removal statute. JA10.

              The Judicial Panel on Multidistrict Litigation nevertheless declined to transfer

        the non-AFFF case to the MDL, JA216–219, and the district court granted

        Maryland’s motion to remand.          The court analyzed removability without

        mentioning—much less assuming the truth of—any of the factual allegations in



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        3M’s notice of removal. Instead, viewing the facts “in the light most favorable to

        Plaintiff,” the district court accepted Maryland’s “disclaimer” of AFFF-related

        damages as “effective.” JA222, JA226–227. “By excluding MilSpec AFFF and all

        other types of AFFF from its Complaint,” the district court concluded, “the State has

        abandoned any claims in this case that would allow 3M to utilize the government

        contractor defense.” JA227. “3M therefore fails to demonstrate the requisite nexus

        or colorable federal defense to sustain removal to federal court under the federal

        officer removal statute.” JA228.

              3M timely noticed this appeal.

              D.     South Carolina’s Two Suits

              South Carolina’s two suits followed a similar trajectory. On August 7, 2023,

        South Carolina filed suit against 3M and other defendants, supposedly limited to

        harm caused by PFAS from non-AFFF sources. Like Maryland’s complaint before

        it, South Carolina’s complaint included an express disclaimer: “The State is not

        seeking to recover through this Complaint any relief for contamination or injury

        related to AFFF or AFFF products used at airports, military bases, or certain

        industrial locations.” JA275–276. Two months later, South Carolina filed a second

        action, this time purporting to “confine[]” damages and injunctive relief to “AFFF

        contamination” while forswearing “damages caused by other forms of PFAS

        pollution.” JA321.



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              As in the Maryland cases, the factual allegations in South Carolina’s

        complaints overlap substantially. Both complaints assert that 3M’s PFAS products

        have contaminated some of the same natural resources: groundwater, surface waters,

        wildlife, soils, and sediments “throughout the State.” JA303–304, JA306, JA313;

        JA321, JA360. Three of the four causes of action in the “non-AFFF” complaint

        (public nuisance, trespass, and unfair trade practices) also appear in the “AFFF”

        complaint. JA305–312; JA354–359. And the complaints seek overlapping damages

        and injunctive relief, including for alleged groundwater contamination and for the

        PFAS investigation conducted by the South Carolina Department of Health and

        Environmental Control. JA119; JA275, JA310, JA313; JA320, JA344, JA346–347,

        JA357.

              3M removed both cases to the U.S. District Court for the District of South

        Carolina. See JA237–240. As it did with the Maryland cases, 3M asserted federal

        jurisdiction under the federal-officer removal statute. Because the ongoing MDL is

        located in the District of South Carolina, 3M removed the cases directly to the MDL.

        South Carolina did not object to 3M’s removal of the “AFFF” suit. See Mem. in

        Supp. of Mot. to Remand at 6, South Carolina v. 3M Co., No. 2:23-cv-05979 (D.S.C.

        Dec. 20, 2023), ECF 8-1.

              As in the District of Maryland, 3M’s notice of removal set forth factual

        allegations establishing the close relationship between South Carolina’s purported



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        “non-AFFF” case and MilSpec AFFF. See JA247–253. 3M explained that PFAS

        from both non-AFFF and MilSpec AFFF sources have “commingled” in natural

        resources “across South Carolina” and allegedly caused an indivisible harm at some

        of the same locations, including Lake Conestee, the Edisto River, and in “wastewater

        and biosolids,” among others. JA247–253. 3M thus asserted that it intended to

        invoke the federal government-contractor defense in the “non-AFFF” case, which

        renders it removable. JA238–239, JA253.

              South Carolina moved to remand the “non-AFFF” case but not the “AFFF”

        case to state court. Mem. in Supp. of Mot. to Remand at 6, South Carolina, No.

        2:23-cv-05979.      The district court granted that motion, concluding that “the

        disclaimers moot 3M’s government contractor defense because . . . it cannot be held

        liable in this case for PFAS contamination originating from AFFF.” JA376. As a

        result, the court concluded, the conduct with which 3M was charged “is not

        connected to the alleged federal authority,” and “federal officer removal is not

        available.” JA376.

              3M again timely noticed an appeal, and this Court entered an order

        consolidating the South Carolina and Maryland appeals for briefing and argument.

        Dkt. 22; Dkt. 24.




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                                    SUMMARY OF ARGUMENT

              There is no such thing as a “non-AFFF” PFAS suit where, as here, PFAS from

        MilSpec AFFF is commingled in the environment with PFAS from non-AFFF

        sources. 3M’s notices of removal plausibly allege that AFFF and non-AFFF sources

        release some of the same PFAS compounds into the environment, and the complaints

        themselves allege that some of the sites at issue were contaminated by PFAS from

        both sources. The district courts have jurisdiction over these cases under 28 U.S.C.

        § 1442(a)(1) because 3M’s government-contractor defense is implicated at every site

        that could have been contaminated by MilSpec AFFF.

              I.     3M acted under federal authority when it manufactured and supplied

        MilSpec AFFF to the U.S. military.

              II.    These supposedly “non-AFFF” suits plainly have a “connection or

        association” to that exercise of federal authority. Sawyer, 860 F.3d at 258. That is

        because—based on the plausible allegations in 3M’s notices of removal—these suits

        seek to recover for alleged harms that were caused at least in part by MilSpec AFFF.

        Both States seek remediation of natural resources where PFAS from military and

        non-military sources mixed in the environment. The PFAS compounds, like PFOS

        and PFOA, that may come from both sources are chemically indistinguishable in the

        environment. Although the States purport to disclaim any relief for MilSpec AFFF,

        in reality the States cannot segregate the discrete sources of contamination at every



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        site. Accordingly, any damages award or abatement order will necessarily sweep in

        PFAS contamination for which 3M has a government-contractor defense. At a

        minimum, the parties will need to present expert testimony or other evidence to assist

        the jury in determining whether there is an accurate means of apportioning liability

        and remedies between MilSpec AFFF and non-AFFF sources. The federal-officer

        removal statute entitles 3M to a federal forum in which to litigate (1) whether

        contamination from MilSpec AFFF and non-AFFF PFAS can be accurately

        separated, and (2) if not, whether 3M’s federal government-contractor defense bars

        recovery at sites where MilSpec AFFF and non-AFFF PFAS are indistinguishably

        intermingled.    Indeed, federal-officer removal is designed for the “primary

        purpose[]” of allowing such defenses to be “litigated in the federal courts.”

        Willingham, 395 U.S. at 407.

              The district courts in both the Maryland and South Carolina cases erred by

        (1) ignoring the well-pleaded facts in 3M’s notices of removal that PFAS from

        military and non-military sources is commingled in the environment and chemically

        indistinguishable, and (2) accepting the States’ disclaimers at face value. Both

        courts also relied on nonbinding opinions by a handful of other district courts that

        remanded similar suits against 3M to state court. But those courts likewise failed to

        grapple with the significance of the complex causation issues that arise because of

        the commingling of PFAS from both non-AFFF and MilSpec AFFF sources.



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        The States’ purported disclaimers that they are seeking damages and injunctive relief

        only for alleged PFAS contamination from “non-AFFF” sources do not alter the

        analysis. These disclaimers rest on the fiction that the factfinder can separate PFAS

        from AFFF and non-AFFF sources, even though they are chemically

        indistinguishable and commingle in the environment. Notwithstanding the States’

        disclaimers, the juries in these cases will necessarily be asked to impose liability

        based on 3M’s production of MilSpec AFFF, triggering 3M’s right to raise its federal

        government-contractor defense. Although the States might contend at trial that they

        can use expert modeling to allocate contamination at a particular site to MilSpec

        AFFF and non-AFFF sources of PFAS, any such contention contradicts the notices’

        plausible allegations and is therefore irrelevant at this stage. And even if such

        modeling were feasible, the factfinder in each case would still need to decide

        whether the modeling is accurate and, if so, what percentage of PFAS contamination

        at each site traces back to MilSpec AFFF. Regardless of the States’ purported

        disclaimers, 3M “should have the opportunity to present [its] version of the facts to

        a federal, not a state, court” and to argue to the federal court that the absence of

        accurate modeling means recovery is foreclosed by its federal government-

        contractor defense. Willingham, 395 U.S. at 409.

              III.   3M has a colorable federal government-contractor defense in these

        cases. 3M’s notices of removal plausibly allege that it provided MilSpec AFFF to



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        the U.S. military according to reasonably precise specifications and that the

        government was aware of the risks of PFAS. Just as the States’ “AFFF” suits

        indisputably implicate a plausible federal government-contractor defense, so too do

        their self-styled “non-AFFF” suits—for precisely the same reasons the nexus

        requirement is satisfied.

              Because 3M is entitled to a federal forum in which to raise its colorable federal

        defense to the States’ claims, this Court should reverse.

                                     STANDARD OF REVIEW

              This Court reviews “issues of subject matter jurisdiction, including removal,”

        de novo. Ripley v. Foster Wheeler LLC, 841 F.3d 207, 209 (4th Cir. 2016). The

        Court also reviews questions of statutory interpretation de novo.              Stone v.

        Instrumentation Lab’y Co., 591 F.3d 239, 242–43 (4th Cir. 2009).

                                            ARGUMENT

              3M satisfies the requirements for federal-officer removal in these two “non-

        AFFF” cases.      The federal-officer removal statute, 28 U.S.C. § 1442(a)(1),

        authorizes any officer of the United States, “or any person acting under that officer,”

        to remove a civil action from state to federal court if the action is “for or relating to

        any act under color of such office.” “One of the primary purposes of the removal

        statute . . . was to have [federal officers’] defenses litigated in the federal courts.”

        Willingham, 395 U.S. at 407. For that reason, the Supreme Court and this Court



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        have repeatedly instructed that § 1442(a)(1) “must be ‘liberally construed’” in favor

        of removal. Watson v. Philip Morris Cos., 551 U.S. 142, 147 (2007); Cnty. Bd. of

        Arlington Cnty. v. Express Scripts Pharmacy, Inc., 996 F.3d 243, 251 (4th Cir.

        2021). The strong federal policy in favor of removal of these actions “should not be

        frustrated by a narrow, grudging interpretation of § 1442(a)(1).” Willingham, 395

        U.S. at 407.

              The statute provides an exception to the ordinary well-pleaded complaint rule.

        It permits a federal officer, or a party that acted under such an officer, to remove an

        action if he pleads a colorable federal defense to at least one claim in the case. See

        Kircher v. Putnam Funds Tr., 547 U.S. 633, 644–45 n.12 (2006); Jamison v. Wiley,

        14 F.3d 222, 239 (4th Cir. 1994).        A removing defendant need not provide

        “[e]vidence” necessary to establish federal jurisdiction.      Dart Cherokee Basin

        Operating Co. v. Owens, 574 U.S. 81, 89 (2014). Instead, a “notice of removal need

        include only a plausible allegation” of facts that would entitle the defendant to a

        federal forum. Id. (emphasis added). A familiar standard thus applies: A court

        “should assume the[] veracity” of a removal notice’s “well-pleaded factual

        allegations” and assess jurisdiction on that basis. Ashcroft v. Iqbal, 556 U.S. 662,

        679 (2009); see also Agyin v. Razmzan, 986 F.3d 168, 180–81 (2d Cir. 2021) (“the

        same liberal rules employed in testing the sufficiency of a pleading should apply to




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        appraise the sufficiency of a defendant’s notice of removal” under the federal-officer

        removal statute).

              A private defendant seeking removal under § 1442(a)(1) must satisfy three

        elements: (1) “it ‘act[ed] under’ a federal officer”; (2) “the charged conduct was

        carried out for o[r] in relation to the asserted official authority”; and (3) “it has ‘a

        colorable federal defense.’” Sawyer, 860 F.3d at 254. 3M’s notices of removal

        establish all three elements of federal-officer removal. South Carolina and Maryland

        each attempted to evade a federal forum by artificially splitting their claims for

        alleged PFAS contamination of the same waterways and other natural resources into

        “AFFF” and “non-AFFF” actions. But each action seeks recovery for overlapping

        alleged contamination at the same locations caused by PFAS from AFFF sources

        commingled with PFAS from non-AFFF sources. And the notices of removal—

        which are controlling here—make clear that those sources of PFAS are chemically

        indistinguishable, which means that any verdict against 3M would rest, in part, on

        its production of MilSpec AFFF for the U.S. military and thus directly implicate its

        federal government-contractor defense. Moreover, resolution of whether the alleged

        contamination at a particular site can be allocated between MilSpec AFFF and non-

        AFFF sources of PFAS—a complex fact and causation question reserved for a

        federal, not state, forum—will ultimately inform the applicability of 3M’s federal




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        government-contractor defense as to that site. Because the non-AFFF cases squarely

        implicate 3M’s federal defense, removal under § 1442(a)(1) is appropriate.

        I.    3M Acted Under Federal Authority.

              3M readily satisfies the first element of the federal-officer removal test: that

        3M acted under federal authority. “[A]cting under” means that the private party

        “assist[ed], or . . . help[ed] carry out, the duties or tasks of the federal superior.”

        Watson, 551 U.S. at 152 (emphases omitted). 3M indisputably acted under federal

        authority when it manufactured and supplied AFFF to the U.S. military pursuant to

        rigorous specifications.    Neither the district courts nor the States suggested

        otherwise. See Sawyer, 860 F.3d at 255 (“[C]ourts have unhesitatingly treated the

        ‘acting under’ requirement as satisfied where a contractor seeks to remove a case

        involving injuries arising from equipment that it manufactured for the government.”

        (emphasis omitted)).1

        II.   The States’ Suits Relate To Actions 3M Took Pursuant To Its Authority
              As A Federal Contractor.

              The federal-officer removal statute authorizes any officer of the United States,

        “or any person acting under that officer,” to remove a civil action that is “for or


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          South Carolina nominally contested this prong below, but its only argument was
        that the disclaimer severed any connection between this case and 3M’s MilSpec
        AFFF production. See Mem. in Supp. of Mot. to Remand at 8–9, South Carolina,
        No. 2:23-cv-05979. The State’s “acting under” argument, therefore, stands or falls
        with its “relating to” argument. See infra II (explaining why these cases have a
        connection to MilSpec AFFF).


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        relating to any act under color of such office.” 28 U.S.C. § 1442(a)(1). 3M alleged

        a sufficient relationship between the non-AFFF suits and 3M’s production of

        MilSpec AFFF for the U.S. military—particularly given the capacious “for or

        relating to” language of § 1442(a)(1). Contrary to the district court decisions, the

        States’ purported disclaimers of AFFF-related liability in the non-AFFF cases do not

        affect that conclusion.

              A.     3M Plausibly Alleged That These Suits Are Related To Its
                     Production Of MilSpec AFFF For The U.S. Military.

              3M’s notices of removal plausibly allege that at least “one claim” in each of

        the Maryland and South Carolina suits, Sawyer, 860 F.3d at 257–58, is “for or

        relating to” 3M’s production of MilSpec AFFF, 28 U.S.C. § 1442(a)(1). The “for or

        relating to” language in the federal-officer removal statute, which must be construed

        liberally, requires only “a connection or association between the act in question and

        the federal office.” Arlington Cnty., 996 F.3d at 251, 256. This “connection or

        association” test sweeps more broadly than “the old ‘causal nexus’ test” that applied

        under the pre-2011 version of the statute. Id. at 256. And even the former standard

        did not require “an airtight case on the merits” showing a “causal connection”

        between the claims and the federal office. Sawyer, 860 F.3d at 258; see also

        Willingham, 395 U.S. at 407 (explaining, under the old standard, that a defendant

        “need not win his case before he can have it removed”). In deciding whether the

        required connection exists, this Court must assume the truth of all plausible


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        allegations in the notice of removal, Dart Cherokee, 574 U.S. at 89, and “credit” the

        defendant’s “theory of the case,” Arlington Cnty., 996 F.3d at 256.

              Maryland’s and South Carolina’s own allegations, coupled with the well-

        pleaded facts in 3M’s notices of removal, establish the required “connection or

        association” between the claims and 3M’s work as a federal contractor. Arlington

        Cnty., 996 F.3d at 256. Each of the States’ AFFF and non-AFFF complaints seeks

        damages for and abatement of alleged PFAS contamination of many of the same

        waterways and other natural resources. Identical PFAS compounds from AFFF and

        non-AFFF sources intermingled at those sites and caused the States a single alleged

        injury. Neither Maryland nor South Carolina can readily identify how much of the

        contamination at each site resulted from MilSpec AFFF and how much traces to

        other sources.    Accordingly, any award of damages or injunctive relief will

        necessarily encompass PFAS contamination from military sources, triggering 3M’s

        right to raise its federal government-contractor defense.

              At a minimum, the factfinder will need to consider expert testimony or other

        evidence that attempts to apportion the alleged contamination between MilSpec

        AFFF and non-AFFF sources of PFAS—for example, evidence that shows how

        PFAS from specific sites migrates through groundwater or other media. 3M has a

        right to a federal forum in which to contest that evidence and to argue that recovery

        at a particular site is barred by its federal government-contractor defense because the



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        State cannot accurately separate contamination attributable to MilSpec AFFF and

        non-AFFF sources. The court’s and jury’s assessment of the accuracy of that

        causation analysis, in turn, will inform the extent to which 3M’s government-

        contractor defense is applicable as to each allegedly contaminated site. See Baker v.

        Atl. Richfield Co., 962 F.3d 937, 944 (7th Cir. 2020); Cuomo v. Crane Co., 771 F.3d

        113, 116 (2d Cir. 2014). And any lawsuit that requires the court to decide the

        applicability of a defense attributable to a defendant’s federal-officer status

        necessarily “relat[es] to” the exercise of federal authority. 28 U.S.C. § 1442(a)(1).

        Indeed, federal-officer removal is designed for the “primary purpose[]” of allowing

        such defenses to be “litigated in the federal courts.” Willingham, 395 U.S. at 407.

                     1.    The States Seek Recovery For Alleged PFAS Contamination
                           That Derives At Least In Part From MilSpec AFFF.

              Starting with Maryland’s lawsuits, the non-AFFF action seeks recovery for

        PFAS contamination that allegedly harms, among other things, “striped bass, blue

        crabs, and oysters” in the Chesapeake Bay. JA19; JA65, JA69. But Maryland’s

        AFFF case claims the exact same injury: harm to “striped bass, blue crabs, and

        oysters” in the Chesapeake Bay. See JA19; JA156, JA160. According to the State

        itself, PFAS from both AFFF and non-AFFF sources contributed to this alleged

        contamination that injured the same species in the Chesapeake Bay. See JA65, JA69;

        JA156, JA160; see also JA19 (explaining that the “non-AFFF” action “seeks to




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        recover for contamination from the same PFAS chemicals allegedly contained in

        MilSpec AFFF”).

              As alleged in 3M’s notice of removal, the PFAS contamination that Maryland

        alleges has occurred in the Chesapeake Bay derives at least in part from MilSpec

        AFFF. See JA19, JA22. The notice of removal describes both Joint Base Andrews

        and the Naval Research Lab, Chesapeake Bay Detachment, as sites where MilSpec

        AFFF was used. JA18–19; see JA132, JA163–164 (Maryland alleging that these

        sites are “confirmed sources of PFAS contamination”). And the notice further

        alleges that “AFFF-related contamination” from both sites “migrated to and polluted

        groundwater and surface water and has adversely affected biota in the surrounding

        areas.” JA19 (quoting JA132); see JA22. Joint Base Andrews, in particular, is

        located in an area where water seeps into the ground to replenish groundwater.

        JA22. The groundwater and surface water from Joint Base Andrews then flow

        toward the Chesapeake Bay, among other areas. JA22. The allegations in 3M’s

        notice of removal thus give rise to a plausible inference that the contamination by

        the same PFAS compounds for which Maryland seeks damages in both cases

        originates at least in part from MilSpec AFFF.

              Similar examples abound. Maryland’s non-AFFF complaint alleges that

        PFAS seeped into the Potomac River. Meanwhile, Joint Base Andrews, a site

        Maryland identifies as a source of MilSpec AFFF, generates surface water and



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        groundwater runoff that flows into the Potomac.       JA22; JA65, JA69; JA162.

        Together, these allegations point to the conclusion that the runoff from Joint Base

        Andrews caused at least some of the PFAS contamination in the Potomac at issue in

        this case.

               Repeating the same theme, Maryland’s twin suits each pursue damages for,

        and an injunction to abate, groundwater contamination. As Maryland alleges, PFAS

        migrate from different source points and enter the State’s groundwater. See JA68

        (alleging that PFAS from any source “mobilizes in and through groundwater sources

        to reach areas beyond the initial sources of contamination”); JA159 (similar). And

        as 3M’s notice of removal asserts, these sources of alleged groundwater

        contamination include military bases and other federal facilities. JA21. Indeed, in

        multiple cases currently pending in the AFFF MDL, municipalities in Maryland

        claim that PFAS contaminated their drinking water, and they identify the use of

        “AFFF products” at “military bases and installations” as sources of the alleged

        contamination. JA20.

               South Carolina’s non-AFFF suit likewise seeks damages for, and abatement

        of, contamination plausibly caused by MilSpec AFFF. See JA248–253. To give one

        example, South Carolina’s non-AFFF complaint claims contamination of Lake

        Conestee, which is near an Army facility where MilSpec AFFF is used for

        firefighting training. JA248; JA298–299. Similarly, South Carolina seeks recovery



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        for alleged PFAS contamination of “eight (8) major river basins” in the State, many

        of which are located near U.S. military bases that allegedly use MilSpec AFFF.

        JA251–252 (quoting JA298); see also JA343–349.

              Like Maryland’s complaints, South Carolina’s AFFF and non-AFFF

        complaints claim that PFAS caused injury to the same species of wildlife. See JA303

        (“oysters, fish, and crabs”); JA345 (“blue crab, freshwater fish, and oysters”). And

        both seek cleanup costs for PFAS that “migrate[d] to groundwater,” including from

        federal facilities, JA254; see also JA251–252; JA303; JA350. As in Maryland,

        multiple municipalities in South Carolina have filed suits in which they claim that

        MilSpec AFFF has contaminated their drinking water supplies—the contamination

        for which South Carolina seeks recovery in this case. JA249. Both of South

        Carolina’s complaints also seek to recoup costs incurred for a single state

        investigation into PFAS contamination from both non-AFFF and MilSpec AFFF

        sources. JA250, JA252–253; JA275, JA310; JA320, JA344, JA346–347, JA357.

                    2.     The Alleged MilSpec AFFF And Non-AFFF PFAS Are
                           Commingled.

              As 3M’s notices of removal explain, no chemical difference exists between a

        particular PFAS compound (e.g., PFOS or PFOA) used in AFFF sources and its

        counterpart in non-AFFF sources. See JA18 (alleging the two sources release

        identical chemicals); JA247–248 (same); JA21 (alleging that PFAS from AFFF

        “inseparably contributed to any alleged ‘non-AFFF’ PFAS contamination”); JA250–


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        251 (same); JA21–24 (alleging that PFAS from the two sources “commingled at

        various locations across Maryland”); JA250–253 (same for “locations across South

        Carolina”). The respective PFAS also remain indistinguishable in the environment:

        PFAS from MilSpec AFFF “overlap” and “commingle[] with the alleged PFAS

        contamination from non-AFFF sources” in the natural resources at issue in these

        cases. JA25. Indeed, South Carolina has acknowledged in the AFFF MDL that

        “PFAS used in AFFF are similar or the same to PFAS used in other applications.”

        Tr. of MDL Status Conf. at 23, In re Aqueous Film-Forming Foams Prods. Liab.

        Litig., No. 2:18-mn-2873 (D.S.C. Apr. 25, 2024), Dkt. 4906. All of this reveals that

        neither State can segregate the PFAS contamination allegedly caused by MilSpec

        AFFF from the PFAS contamination allegedly stemming from other sources.

                    3.     A Federal Court Must Decide The Causal Source Of The
                           Alleged PFAS Contamination.

              An obvious “connection or association” thus binds Maryland’s and South

        Carolina’s purported “non-AFFF” cases and 3M’s production of MilSpec AFFF for

        the U.S. military. Sawyer, 860 F.3d at 258. The States seek relief for alleged

        contamination caused by identical PFAS compounds that have intermingled in the

        environment from military and non-military origins. Although the States purport to

        limit their claims to PFAS from non-AFFF sources, they have no accurate means of

        disentangling these different sources of contamination. Any award of damages or




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        injunctive relief would thus necessarily sweep in at least some MilSpec AFFF

        contamination for which 3M has a federal defense.

              At a minimum, the States would need to present expert testimony or other

        evidence—e.g., evidence concerning the movement of PFAS in groundwater—to

        assist the factfinder in deciding what portion of the contamination at a specific site

        was caused by MilSpec AFFF. 3M has a right to a federal forum in which to contest

        the accuracy of that modeling and to argue that recovery at a particular site is barred

        by its federal government-contractor defense because the State cannot accurately

        segregate contamination from MilSpec AFFF and other sources of PFAS. Congress

        provided for federal-officer removal jurisdiction precisely so that “merits questions”

        that affect the ultimate applicability of the government-contractor defense—as

        causation does here—will be resolved by a federal court. Baker, 962 F.3d at 944

        (emphasis omitted); Cuomo, 771 F.3d at 116.

              The Seventh Circuit’s decision in Baker is directly on point. There, the

        plaintiffs sued DuPont and others for allegedly “contaminat[ing] the property”

        around their residences with lead and arsenic. 962 F.3d at 939. DuPont removed

        the case to federal court, alleging that it had produced freon for the federal

        government during World War II, and that this freon production “resulted in waste

        streams that contained lead and arsenic.” Id. at 945 n.3. The plaintiffs “purport[ed]

        to disclaim” damages resulting from DuPont’s freon production, id., seeking to



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        recover instead for lead and arsenic pollution caused by DuPont’s commercial

        activities, id. at 945. The court concluded that this self-styled disclaimer was

        ineffective. Because the plaintiffs sought recovery for lead and arsenic pollution—

        and because DuPont alleged that its government-contractor freon production had

        released those chemicals—the suit related to DuPont’s contracting activities. See id.

        at 943–45. The factual dispute about the source of the toxins did not counsel against

        removal—on the contrary, it was “just another example of a difficult causation

        question that a federal court should be the one to resolve.” Id. at 945 n.3. Just so

        here.

                B.    Both District Courts Erroneously Failed To Credit 3M’s Theory Of
                      The Case.

                Both district courts erred in coming to the opposite conclusion. Both courts

        engaged in a limited, unduly narrow analysis that rejected federal-officer removal

        on the basis of the States’ purported disclaimers. JA226; JA376. Neither court even

        mentioned—much less assumed the truth of—the detailed factual allegations in

        3M’s notices of removal that explained why the so-called non-AFFF cases implicate

        3M’s federal government-contractor defense despite the so-called disclaimers. In

        fact, rather than accept 3M’s theory of the case, as this Court has instructed, the

        District of Maryland erroneously viewed the facts “in the light most favorable to

        Plaintiff.”   JA222.   These failures to adhere to the well-settled standard for

        evaluating federal-officer removal require reversal.


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              Each district court should have assumed the truth of the plausible factual

        allegations in 3M’s notice of removal—including that PFAS from MilSpec AFFF

        and other sources is chemically indistinguishable and commingled in the same

        natural resources—and analyzed removability on that basis. The Supreme Court

        explained as much in Dart Cherokee, where it concluded that a removing defendant

        need not provide any “[e]vidence” of the facts necessary to establish federal

        jurisdiction. 574 U.S. at 89. Instead, a “notice of removal need include only a

        plausible allegation” of each such fact. Id. (emphasis added).

              The ruling in Dart Cherokee was based primarily on the text of 28 U.S.C.

        § 1446(a), the statute governing notices of removal. The provision requires that a

        notice of removal “‘contain[] a short and plain statement of the grounds for

        removal,’” 574 U.S. at 87, a clear parallel to Federal Rule of Civil Procedure 8(a)’s

        requirement that a complaint contain a “‘short and plain statement’” of the grounds

        for relief, id.; see also Ellenburg v. Spartan Motors Chassis, Inc., 519 F.3d 192, 200

        (4th Cir. 2008) (noting parallelism). Rule 8(a) “does not impose a probability

        requirement at the pleading stage,” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556

        (2007), and § 1446(a) therefore does not either. Instead, notices of removal must

        contain only “plausible allegation[s]” of jurisdictional facts. Dart Cherokee, 574

        U.S. at 89.




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                 The district courts thus erred in failing to “assume the[] veracity” of each

        notice’s “well-pleaded factual allegations” and assess jurisdiction on that basis.

        Iqbal, 556 U.S. at 679; see Twombly, 550 U.S. at 555–56. As several other circuits

        have explained: “[T]he same liberal rules employed in testing the sufficiency of a

        pleading should apply to appraise the sufficiency of a defendant’s notice of removal”

        under the federal-officer removal statute.        Agyin, 986 F.3d at 180–81 (citing

        Ellenburg, 519 F.3d at 200); see Texas v. Kleinert, 855 F.3d 305, 313 (5th Cir. 2017)

        (“[T]he standard for federal officer removal tests only the plausibility of the officer’s

        allegations.”); Betzner v. Boeing Co., 910 F.3d 1010, 1014 (7th Cir. 2018)

        (explaining that “Dart Cherokee’s holding is not limited to amount-in-controversy

        allegations as the district court suggested” and reviewing the allegations in a

        § 1442(a) removal notice under Iqbal’s pleading standard).

                 In the Maryland case, the district court’s main reason for viewing the facts “in

        the light most favorable to Plaintiff” was that “3M bears the burden of demonstrating

        that removal is proper.” JA222. But viewing the facts in the light most favorable to

        the plaintiff would “anomalous[ly] . . . treat commencing plaintiffs and removing

        defendants differently with regard to” jurisdictional facts. Dart Cherokee, 574 U.S.

        at 88.     As this Court explained even before Dart Cherokee, “‘the burden of

        demonstrating that removal jurisdiction is proper’ . . . is no greater than is required

        to establish federal jurisdiction as alleged in a complaint.” Ellenburg, 519 F.3d at



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        200; see Kerns v. United States, 585 F.3d 187, 192 (4th Cir. 2009) (the “facts alleged

        in” the notice of removal, when “taken as true,” must be “sufficient . . . to invoke

        subject matter jurisdiction” (emphasis added)).

              At one point, the District of Maryland paid lip service to the idea that it would

        “construe facts alleged in support of the defendant’s colorable federal defense [the

        third element of the federal-officer removal test] as true.” JA225; see Northrop

        Grumman Tech. Servs., Inc. v. DynCorp Int’l LLC, 865 F.3d 181, 186 (4th Cir. 2017)

        (listing the elements). But in truth, the district court never grappled with the facts

        alleged in 3M’s notice of removal. And even if it had, the district court should have

        construed all facts plausibly alleged in the notice of removal as true, not only the

        facts pertaining to the third element.

              The District of South Carolina made a similar mistake. There, the district

        court based its approach on the idea that removal is disfavored and should be “strictly

        construe[d] . . . because it ‘raises federalism concerns.’” JA373 (quoting Mulcahey

        v. Columbia Organic Chems. Co., 29 F.3d 148, 151 (4th Cir. 1994)). Even assuming

        that principle may be true in other contexts, it does not extend to federal-officer

        removal. Following the Supreme Court’s direction, this Court has instructed that

        “the federal officer removal statute must be ‘liberally construed’” because the statute

        protects federal interests by bringing certain cases involving federal officers, and




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        those acting under them, into federal court. Arlington Cnty., 996 F.3d at 250–51

        (emphasis added) (quoting Watson, 551 U.S. at 150).

              Both district courts relied on a handful of recent decisions remanding “non-

        AFFF” PFAS cases to state court based on disclaimers similar to the ones that

        Maryland and South Carolina employed here. JA227; JA373–376. But each of

        those decisions is currently on appeal. And, more importantly—like the district

        courts here—those courts failed to defer to the plausible allegations in the notices of

        removal. They therefore did not grapple meaningfully with whether removal is

        appropriate where, as a result of commingling of chemically identical PFAS from

        MilSpec AFFF and other PFAS sources, any verdict for the plaintiff would

        necessarily rest in part on contamination attributable to MilSpec AFFF.            See

        Willingham, 395 U.S. at 407 (federal-officer defenses should be “litigated in the

        federal courts”).

              In New Hampshire v. 3M Co., one of the cases on which the district courts

        relied here, the court gave dispositive weight to the State’s disclaimer. 665 F. Supp.

        3d 215, 227–29 (D.N.H. 2023). The other decisions largely follow the decision in

        New Hampshire without meaningful independent analysis. See Maine v. 3M Co.,

        2023 WL 4758816, at *10 (D. Me. July 26, 2023); Illinois ex rel. Raoul v. 3M Co.,

        2023 WL 6160610, at *5–6 (C.D. Ill. Sept. 21, 2023); see also JA373–374. But even

        if the State’s theory in New Hampshire was that the case had nothing to do with



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        MilSpec AFFF, 3M plausibly alleged there—just as it has here—that the

        contamination at issue was caused, in part, by MilSpec AFFF. As Baker and other

        decisions explain, where the defendant invokes federal-officer removal, federal

        courts must decide causation questions—including whether there is an accurate

        means of distinguishing the product produced pursuant to government specifications

        from other products—because deciding those questions determines whether the

        defendant may invoke a government-contractor defense.

              The Judicial Panel on Multidistrict Litigation denied transfer of the Maryland

        “non-AFFF” case to the MDL, but that is immaterial for present purposes. MDL

        transfer and federal-officer removal are governed by different legal standards.

        Compare 28 U.S.C. § 1442(a)(1), with id. § 1407. And, in any event, the Judicial

        Panel noted that transfer of Maryland’s “non-AFFF” case may ultimately be

        warranted if “discovery and pleading practice . . . demonstrate” that this case is “an

        AFFF case.” JA217, JA219. In that context, the Judicial Panel was evaluating just

        the face of Maryland’s complaint. Here, 3M’s notice of removal plausibly alleges

        that Maryland’s “non-AFFF” case is, in reality, an AFFF case—which is enough for

        the case to be removed to federal court.

              Ultimately, this Court’s “duty is to follow the law as [it] find[s] it, not . . .

        follow rotely” what “a smattering of lower court opinions” may have done. BP




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        P.L.C. v. Mayor & City Council of Baltimore, 141 S. Ct. 1532, 1541 (2021). This

        Court should do so and reverse.

              C.     The States’ Disclaimers Cannot Sever The Connection To MilSpec
                     AFFF.

              This analysis does not change simply because the States purport to disclaim

        recovery in the “non-AFFF” cases for PFAS contamination stemming from AFFF

        sources. Those disclaimers rest on the false premise that the factfinder can separate

        PFAS contamination from AFFF and non-AFFF sources, which release the same

        PFAS compounds into the environment. See JA18–19; JA247–248. The disclaimers

        cannot absolve the factfinder in each case from having to make an arbitrary

        judgment, based on expert testimony or other evidence, about what percentage of

        PFAS contamination at each site traces back to the military. Because the notices of

        removal plausibly allege that no such accurate assessment can be made—and thus

        that any finding of liability would necessarily be premised, in part, on MilSpec

        AFFF—3M has a federal government-contractor defense in these cases that supports

        a right to removal.

              Moreover, 3M has a right to challenge the accuracy of the States’ efforts at

        trial to distinguish PFAS attributable to MilSpec AFFF from other PFAS sources

        and to argue that, because there is no accurate means of segregating contamination

        from the two sources, recovery at a particular site is barred by its federal

        government-contractor defense. 3M “should have the opportunity to present [its]


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        version of the facts to a federal, not a state, court,” regardless of the States’ purported

        disclaimers. Willingham, 395 U.S. at 409.

               The Seventh Circuit explained in Baker, 962 F.3d 937, why a disclaimer is

        ineffective in circumstances like these. In Baker—the case in which plaintiffs

        sought recovery for arsenic and lead contamination on their property—the plaintiffs

        sought to defeat removal by purporting to disclaim that their lawsuit concerned any

        materials manufactured for the federal government. Id. at 945 n.3. The Seventh

        Circuit rejected that ploy: The disclaimer could not thwart the manufacturers’

        allegations that they had made the relevant product for the federal government,

        which “resulted in waste streams that contained lead and arsenic”—“the two main

        toxins the [plaintiffs] claim[ed] harmed them.” Id. The Seventh Circuit explained

        that the plaintiffs could not “have it both ways”: Either they disclaimed harms from

        lead and arsenic of any origin and thus negated the manufacturers’ opportunity to

        raise their government-contractor defense; or they sought recovery for those harms,

        in which case their claims implicated that federal defense and should be resolved in

        federal court. Id. So long as the plaintiffs sought recovery for lead and arsenic, the

        factfinder would have to determine the “difficult causation question” regarding the

        source of the alleged contaminants. Id. And, as explained, causation issues related

        to a federal defense “are merits questions that a federal court should decide.” Id. at

        944.



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              The reasoning in Baker applies with full force here. As the complaints and

        notices of removal make clear, the PFAS contamination at issue in each State was

        likely caused in part by MilSpec AFFF. 3M therefore has a right to a federal forum

        in which to argue that its federal government-contractor defense bars recovery

        because there is no accurate means of resolving the “difficult causation question” as

        to whether contamination at a particular site was attributable to MilSpec AFFF or

        non-AFFF sources. Baker, 962 F.3d at 945 n.3.

              Nessel v. Chemguard, Inc., 2021 WL 744683 (W.D. Mich. Jan. 6, 2021),

        reached the same conclusion in a closely related case against AFFF manufacturers.

        There, the plaintiffs filed two suits, one seeking recovery for alleged PFAS

        contamination stemming from non-MilSpec AFFF and one seeking recovery for

        alleged PFAS contamination stemming from MilSpec AFFF.                    After the

        manufacturers removed both cases to federal court, the plaintiffs moved to remand

        the “non-MilSpec AFFF” suit to state court. The court denied the motion. Given

        the “substantial similarity” between the complaints, the court reasoned, it was

        “entirely possible” that some of the plaintiffs’ claimed injuries in the non-MilSpec

        AFFF case were caused by MilSpec AFFF. Id. at *3. The court concluded that

        whichever court “ultimately hears this case will likely have to engage in a detailed

        fact-finding process to determine whether the injuries from MilSpec and

        Commercial AFFF can be distinguished.” Id.



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              The Nessel court, like the Baker court, declined to credit the plaintiffs’ would-

        be disclaimer. The plaintiffs’ “attempt to surgically divide their complaints between

        Commercial and MilSpec AFFF,” the court said, “cannot prevent Defendants from

        raising the production of MilSpec AFFF as a defense or an alternate theory.” 2021

        WL 744683, at *3. Just so here. The States’ fiction cannot prevent 3M from

        arguing—as plausibly alleged in its notices of removal—that the contamination at

        issue in these “non-AFFF” cases was caused at least in part by MilSpec AFFF and

        that it is impossible to accurately segregate the contamination from MilSpec AFFF

        from the contamination caused by other PFAS sources. And, if the court agrees with

        3M’s argument, then the States’ claims are barred in whole or in part by 3M’s federal

        government-contractor defense.

              Other courts have reached similar conclusions. See Curiale v. A. Clemente,

        Inc., 2023 WL 4362722, at *6 (D.N.J. July 5, 2023) (“DuPont is entitled to put

        forward an alternate theory of causation, and here does so by asserting that the

        injuries complained of may have resulted from activity DuPont engaged in at the

        federal government’s instruction. Plaintiff cannot avoid this defense by disclaiming

        harm resulting from chemicals related to [the government contracts].”); Dougherty

        v. A O Smith Corp., 2014 WL 3542243, at *3–5 (D. Del. July 16, 2014) (plaintiff’s

        attempt “at artful pleading to circumvent federal officer removal” failed where




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        “jurisdictional disclaimer [was] inconsistent with the allegations of the Complaint”

        and the removal notice).

              This Court has likewise said that a complaint’s disclaimer must be consistent

        with the relief requested and the theory of the defense. In Wood v. Crane Co., 764

        F.3d 316 (4th Cir. 2014), this Court concluded that a disclaimer (of any damages

        from exposure to valves, as opposed to exposure to gaskets) had “real effect”

        because it “expressly disclaimed any damages” arising out of a particular product.

        Id. at 321. The defendant agreed that the valves—the only basis for any federal

        defense—“d[id] not contain asbestos,” while the gaskets did. See Opening Br. at 7

        n.1, Wood, No. 13-1868 (4th Cir. Sept. 9, 2013). In reaching its conclusion, Wood

        distinguished a case in which the plaintiff “still sought damages arising out of his

        exposure to” the product that implicated federal jurisdiction, “[d]espite his

        disclaimer” otherwise. 764 F.3d at 321 (quoting Brantley v. Borg-Warner Morse

        Tec, Inc., 2012 WL 1571129, at *2 (S.D. Cal. May 3, 2012)) (alterations omitted).

        In these cases, as explained, 3M has plausibly alleged that, despite the States’

        disclaimers, both States are seeking to recover for alleged contamination that may

        include PFAS compounds traceable to MilSpec AFFF that have commingled in the

        environment with, and that are inseparable from, PFAS compounds from non-AFFF

        sources.




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              Even assuming the States could apportion damages between PFAS

        attributable to AFFF and non-AFFF sources, which they cannot, removal would be

        proper: Both States seek injunctive relief that cannot be apportioned. Maryland is

        seeking a court order directing 3M “to abate or mitigate . . . PFAS contamination,”

        JA119, and South Carolina seeks similar equitable relief, JA313. Where PFAS from

        MilSpec AFFF is commingled with PFAS from other sources, it is both conceptually

        and practically impossible for 3M to remove only PFAS contamination resulting

        from non-AFFF sources. Cf. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360

        (2011) (noting “the indivisible nature of the injunctive . . . remedy”). Any such relief

        would necessarily require 3M to abate alleged contamination resulting from

        production of MilSpec AFFF.

              In reality, then, the States have not disclaimed relief for harms from AFFF at

        all. Instead, the States are trying to have their cake and eat it too, splitting their

        claims to try to avoid federal jurisdiction over these “non-AFFF” cases while

        simultaneously seeking to recover in these cases for the same alleged harms to the

        same natural resources as in their “AFFF” lawsuits.              The States’ alleged

        disclaimers—made when the States are pursuing the exact damages and equitable

        remedies they purport to disclaim, given the commingling of PFAS from various

        sources—do not bar federal-officer removal of these cases. Cf. Federated Dep’t




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        Stores, Inc. v. Moitie, 452 U.S. 394, 397 n.2 (1981) (courts “will not permit plaintiff

        to use artful pleading to close off [a] defendant’s right to a federal forum”).

              If both the “AFFF” cases (which have been removed) and “non-AFFF” cases

        (which have been remanded) were pending in federal court, then 3M could move to

        consolidate them to thwart the States’ improper efforts to split their claims. But if

        the “non-AFFF” and “AFFF” cases proceed in separate state and federal forums,

        then 3M faces a significant risk of inconsistent judgments. Even if each factfinder

        can and does make an effort to separate contamination from AFFF and non-AFFF

        sources, the “non-AFFF” suits might easily generate liability for—and injunctive

        relief to abate contamination stemming from—3M’s sales of MilSpec AFFF.

        Principles of preclusion, which bar a plaintiff from “advanc[ing] the same claim as

        an earlier suit” brought against the same defendant, Lucky Brand Dungarees, Inc. v.

        Marcel Fashions Grp., Inc., 590 U.S. 405, 412 (2020), might mitigate that risk of

        inconsistent judgments. Whichever party prevails in the case that first reaches

        judgment might assert that judgment as a bar to the State’s second suit or to particular

        issues (like the government-contractor defense) in those cases. But the fact that the

        States or 3M might assert preclusion because the same claim was litigated in the

        earlier suit just reinforces the point: If each State’s “non-AFFF” and “AFFF” cases

        are about the same claim, then their “non-AFFF” cases “relat[e] to” 3M’s production




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        of MilSpec AFFF just as their “AFFF” cases indisputably do. That satisfies the

        federal-officer removal statute’s “for or relating to” requirement.

              Because of the risk of inconsistent judgments, this Court has warned against

        the dangers of “a plaintiff . . . prosecuting its case piecemeal.” Lee v. Norfolk S. Ry.

        Co., 802 F.3d 626, 635 (4th Cir. 2015). “The rule against claim splitting” therefore

        “requires that all claims arising out of a single wrong be presented in one action.”

        Id.; see Stark v. Starr, 94 U.S. 477, 485 (1876) (“It is undoubtedly a settled principle

        that a party . . . is not at liberty to split up his demand and prosecute it by piecemeal,

        or present only a portion of the grounds upon which special relief is sought, and

        leave the rest to be presented in a second suit, if the first fail.”). This Court should

        not permit the States to avoid federal-officer removal by artificially splitting their

        claims between state and federal court—a separation that will be impossible to

        maintain in practice.

              Contrary to the allegations in the notices of removal, the States may contend

        that it is possible, as a factual matter, to separate contamination caused by PFAS

        from AFFF sources from contamination caused by PFAS from non-AFFF sources.

        That factual disagreement may present “a difficult causation question” at trial (if the

        State’s causation model is sufficiently reliable to reach a jury). Baker, 962 F.3d at

        945 n.3. But “the propriety of removal does not depend on the answer[]” to that

        question. Id. at 947. At this stage of the litigation, the court must liberally construe



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        the removal provision and “credit [3M’s] theory of the case.” Arlington Cnty., 996

        F.3d at 251, 256. Under that theory, these “non-AFFF” actions are inseparably

        related to 3M’s production of AFFF for the U.S. military and, if they result in

        verdicts against 3M, will necessarily impose liability, in part, based on its actions as

        a federal contractor. These suits thus relate to 3M’s actions taken pursuant to official

        authority.2

        III.   3M Asserted A Colorable Federal Defense.

               Finally, a private defendant seeking removal under § 1442(a)(1) must

        demonstrate “a colorable federal defense.” Sawyer, 860 F.3d at 254. “Courts have

        imposed few limitations on what qualifies as a colorable federal defense.” Arlington


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          South Carolina filed an affidavit with its remand motion from a scientist in its
        Department of Health and Environmental Control. See JA367–371 (affidavit of
        Scott Reynolds). The affidavit asserts that it is “possible to identify” certain “areas
        which are more probably than not contaminated by the use of AFFF products” rather
        than PFAS from non-AFFF products. JA370. Below, South Carolina argued that
        this affidavit somehow “directly refute[s]” 3M’s theory of the case, Mem. in Supp.
        of Mot. to Remand at 13, South Carolina, No. 2:23-cv-05979, preventing 3M from
        “proving . . . jurisdiction,” id. at 8. That is incorrect. That it might be possible to
        discern whether some sites more likely have PFAS from MilSpec AFFF or from
        non-AFFF products does not matter at this stage. 3M’s notice of removal plausibly
        explains that at least some of the sites for which the State seeks recovery have alleged
        PFAS contamination from both sources that is indistinguishably commingled. Even
        if the affidavit were relevant at this stage, which it is not, nothing in the affidavit
        contradicts that. In any event, 3M’s plausible allegations in the notice of removal
        are controlling for purposes of removal. Determining whether there is an accurate
        model for distinguishing between contamination from MilSpec AFFF and other
        sources of PFAS is a merits question that a federal court must decide, given this
        case’s connection to MilSpec AFFF. Baker, 962 F.3d at 944. In short, the affidavit
        does not change the jurisdictional analysis.


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        Cnty., 996 F.3d at 254. The defendant need not “‘win his case before he can have it

        removed’ nor even establish that the defense is ‘clearly sustainable.’” Ripley, 841

        F.3d at 210 (quoting Willingham, 395 U.S. at 407). Rather, the defendant need only

        raise a “plausible” “defensive” claim that is “based in federal law.” Arlington Cnty.,

        996 F.3d at 254. “[A] federal defense is colorable unless it is ‘immaterial and made

        solely for the purpose of obtaining jurisdiction’ or ‘wholly insubstantial and

        frivolous.’” Moore v. Elec. Boat Corp., 25 F.4th 30, 37 (1st Cir. 2022).

              In both “non-AFFF” cases, 3M has invoked the government-contractor

        defense, which provides that government contractors are not subject to state tort

        liability when “(1) the United States approved reasonably precise specifications;

        (2) the equipment conformed to those specifications; and (3) the supplier warned the

        United States about the dangers in the use of the equipment that were known to the

        supplier but not to the United States.” Boyle, 487 U.S. at 512.

              3M’s notices of removal plausibly allege all three elements of this defense.

        First, the federal government developed and used “reasonably precise

        specifications” for the formulation, performance, and testing of MilSpec AFFF.

        JA28–30; JA258–259. Second, the Naval Sea Systems Command determined that

        3M’s AFFF products conformed to those specifications, as demonstrated by 3M’s

        inclusion on the “Qualified Products List.” JA30; JA259. Third, 3M was not aware

        of any material risk regarding MilSpec AFFF about which the federal government



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        did not know.       JA30–33; JA260–263.         The federal government has long

        understood—and publicly acknowledged—that AFFF contains PFAS, that AFFF

        constituents may migrate to groundwater, and that some studies suggest potential

        adverse effects from PFAS.       See, e.g., Edward S.K. Chian et al., Membrane

        Treatment of Aqueous Film Forming Foam (AFFF) Wastes for Recovery of Its Active

        Ingredients 1 (Oct. 1980) (report supported by Department of Defense stating that

        “[a]ll of the constituents resulting from firefighting exercises are considered to have

        adverse effects environmentally”); EPA, Revised Draft Hazard Assessment of

        Perfluorooctanoic Acid and Its Salts 6 (Nov. 4, 2002) (study assessing “health and

        environmental issues presented by fluorochemicals”).         Drawing all reasonable

        inferences in 3M’s favor, as is required at this stage, 3M has asserted a colorable

        government-contractor defense.

              This should come as no surprise. The States raised no objection to removal

        of their “AFFF” suits based on 3M’s plausible government-contractor defense. And

        the MDL court has explained that the government-contractor defense is available for

        claims against 3M relating to MilSpec AFFF. In re Aqueous Film-Forming Foams

        Prods. Liab. Litig., 2022 WL 4291357, at *12, *15 (D.S.C. Sept. 16, 2022). Because




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        3M has plausibly alleged that these “non-AFFF” cases relate to MilSpec AFFF too,

        the same conclusion follows here.3

              In the Maryland case, the district court concluded otherwise, again relying on

        the State’s disclaimer. (The District of South Carolina did not address this issue.)

        The court reasoned that, “[b]y excluding MilSpec AFFF and all other types of AFFF

        from its Complaint, the State has abandoned any claims in this case that would allow

        3M to utilize the government contractor defense.” JA227. This was error for the

        same reasons explained above. As a result of the commingling of MilSpec AFFF

        and non-AFFF PFAS in the environment, these “non-AFFF” suits are inextricably

        intertwined with 3M’s production of MilSpec AFFF, and thus, despite the States’

        purported disclaimers, they will necessarily implicate 3M’s well-pleaded

        government-contractor defense. Supra II.




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          In their motions to remand filed in the district court, both States argued that 3M’s
        notices of removal did not satisfy the third element of the government-contractor
        defense because, they said, 3M failed to allege that it warned the United States about
        the dangers of AFFF. Mem. in Supp. of Mot. for Recons. and Remand at 22–23,
        Maryland, No. 1:23-cv-01836; Mem. in Supp. of Mot. to Remand at 10–11, South
        Carolina, No. 2:23-cv-05979. Neither district court reached this argument, but it
        fails at this stage. As explained above, 3M’s notices of removal plausibly allege that
        the government already knew about the risks of AFFF. JA30–33; JA260–263. And
        the MDL court has concluded, in a related case, that there is a jury question on this
        issue that must be resolved at trial. See Aqueous Film-Forming Foams Prods. Liab.
        Litig., 2022 WL 4291357, at *12. In addition, the States’ failures to object to
        removal of their “AFFF” cases belie any real argument on this score.


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              Under § 1442(a)(1), 3M has the right to have its plausible government-

        contractor defense “litigated in the federal courts.” Willingham, 395 U.S. at 407.

        The concern animating federal-officer removal—“to protect federal officers from

        interference by hostile state courts,” id. at 405—applies with particular force in the

        context of military procurement. “[G]iven the complexities of military decision

        making and the constitutional delegation of the war powers to the legislative and

        executive branches,” the federal government enjoys broad discretion “in matters of

        military procurement contracts.” Ripley, 841 F.3d at 210. The judiciary therefore

        “hesitate[s] to intervene” at all in such issues. Id.; see also Tozer v. LTV Corp., 792

        F.2d 403, 405 (4th Cir. 1986) (similar). But if a court must intervene, it should be a

        federal court—not a state court—that does so.

              Congress enacted § 1442(a)(1) to ensure that federal contractors have access

        to a federal forum in which to litigate their federal defenses. Particularly given the

        Supreme Court’s direction to construe that provision liberally, 3M’s notices of

        removal plausibly allege that these “non-AFFF” cases relate to its production of

        MilSpec AFFF and thereby implicate its government-contractor defense.              The

        district courts therefore have jurisdiction under the federal-officer removal statute.

                                          CONCLUSION

              For these reasons, 3M respectfully requests that the Court reverse the district

        courts’ orders granting the States’ motions to remand.



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        Dated: June 7, 2024                         Respectfully submitted,


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                        STATEMENT REGARDING ORAL ARGUMENT

              3M respectfully requests oral argument pursuant to Federal Rule of Appellate

        Procedure 34(a) and Local Rule 34(a). This case presents complex and important

        questions of federal procedure, and 3M submits that oral argument would afford the

        parties and the Court an opportunity to explore these issues more fully.




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                               CERTIFICATE OF COMPLIANCE

              Pursuant to Federal Rule of Appellate Procedure 32(g)(1), the undersigned

        certifies that this brief complies with the applicable typeface, type style, and type-

        volume limitations. This brief was prepared using a proportionally spaced type

        (Times New Roman, 14-point font). Exclusive of the portions exempted by Federal

        Rule of Appellate Procedure 32(f), this brief contains 10,769 words. This certificate

        was prepared in reliance on the word-count function of the word-processing system

        used to prepare this brief.



               June 7, 2024                        Respectfully submitted,



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                                   CERTIFICATE OF SERVICE

              I hereby certify that on June 7, 2024, I caused a copy of the foregoing brief

        and the joint appendix to be served via ECF on all counsel of record.


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